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EXHIBIT B

 
Case 2:19-cv-00064-LEW

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STATE OF MAINE SUPERIOR COURT
CUMBERLAND, ss. CIVIL ACTION
DOCKET NO.

CRYSTAL GOULET, an Individual with a )
residence in Biddeford, York County, Maine, )
)
Plaintiff )
)
Vv. )
) COMPLAINT
WHOLE FOODS MARKET GROUP, INC., a )
Delaware corporation, with its headquarters in )
Austin, Texas, and authorized to conduct business _ ) 3
in the State of Maine, ) s .
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and ) wo
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ri
FRANKLIN & SOMERSET PORTLAND ME, ) Se
LLC, ) ew:
3
)

Defendants

NOW COMES the Plaintiff, Crystal Goulet, by and through counsel, Peter Clifford of
Clifford & Clifford, LLC, and complains against the Defendant as follows:

1, Plaintiff Crystal Goulet is an individual who resides in Biddeford, York County,
State of Maine.

2. Defendant Whole Foods Market Group, Inc. (“Whole Foods”) is a Delaware

corporation, with its headquarters located in Austin, Texas, and is authorized to conduct business

world-wide, including in the State of Maine.

3, Defendant Franklin & Somerset Portland ME, LLC (“Franklin & Somerset”) is a
Delaware limited liability company, with its principal place of business in Austin, Texas, and is

authorized to conduct business in the State of Maine.

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4, On September 5, 2016, Plaintiff was an invitee at Defendant Whole Foods store,
located at 2 Somerset Street in Portland, Cumberland County, Maine.

5. At all material times, Plaintiff was in the exercise of due care.

6, At all material times, Defendants owned, operated, managed, controlled and
maintained the premises located at 2 Somerset Street in Portland, Maine.

7. On September 5, 2016, Defendants breached their duty of care by failing to

provide reasonably safe premises.
COUNT IL: LANDOWNER/OCCUPIER LIABILITY

8. Plaintiff repeats and realleges the allegations in her Complaint, as if fully set forth

herein.

9. On September 5, 2016, Plaintiff suffered serious injuries as result of a fall at the
premises owned, operated, maintained and controlled by Defendants, located at 2 Somerset

Street, in Portland, Maine.

10. The premises were unreasonably dangerous.

11. Defendants’ negligence was a proximate cause of the injuries sustained by
Plaintiff.

12. Asadirect and proximate cause of Defendants’ negligence, Plaintiff suffered
damages.

WHEREFORE, Plaintiff demands judgment against the Defendants, together with
damages, in an amount which is reasonable and just, together with interest and costs.
COUNT Ul: NEGLIGENCE

13. Plaintiff repeats and realleges the allegations in her Complaint, as if fully set forth

herein.

 
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14, On September 5, 2016, Plaintiff suffered serious injuries as result of Defendants’

15. Asa direct and proximate cause of Defendants’ negligence, Plaintiff suffered

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negligence.
damages.

WHEREFORE, Plaintiff demands Judgment against the Defendants, together with

damages, in an amount which is reasonable and just, together with int

Dated: October (C28 18

   

 

Peter Clifford, Bar No. 7300
Clifford & Clifford, LLC

62 Portland Road, Suite 37
Kennebunk, ME 04043
(207) 985-3200

 

 
